                                          Case 5:15-cv-02543-BLF Document 354 Filed 08/14/18 Page 1 of 1




                                   1

                                   2

                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7    TESSERA, INC.,                                     Case No. 15-cv-02543-BLF
                                   8                   Plaintiff,
                                                                                           ORDER UNSEALING ORDER
                                   9            v.                                         GRANTING PLAINTIFF TESSERA,
                                                                                           INC.’S MOTION FOR ENTRY OF FINAL
                                  10    TOSHIBA CORPORATION,                               JUDGMENT UNDER RULE 54(b) AND
                                                                                           FOR STAY OF PROCEEDINGS
                                  11                   Defendant.
                                                                                           [Re: ECF 330]
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          Pursuant to the Court’s redaction order dated March 6, 2017 (ECF 331), the parties should

                                  15   have submitted proposed redactions to the Court’s Order Granting Plaintiff Tessera, Inc.’s Motion

                                  16   for Entry of Final Judgment Under Rule 54(b) and for Stay of Proceedings (ECF 330) by March

                                  17   13, 2017 if any redaction was required. The parties have not submitted any proposed redaction as

                                  18   well as supporting declaration(s) and a proposed order to this date.

                                  19          Accordingly, IT IS HEREBY ORDERED that the Court’s Order Granting Plaintiff

                                  20   Tessera, Inc.’s Motion for Entry of Final Judgment Under Rule 54(b) and for Stay of Proceedings

                                  21   (ECF 330) shall be unsealed in its entirety.

                                  22

                                  23          IT IS SO ORDERED.

                                  24

                                  25   Dated: August 14, 2018

                                  26                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                  27                                                   United States District Judge
                                  28
